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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


   UNITEE) STATES OF AMERICA                        :       Honorable Douglas Arpert
                                                                                                RECEIVE D
                            v.                      :       Mag. No. 12-2547 (DA)
                                                                                                      22 2O
   SEA    RUI3LOWITZ                                                                            DOUGLAS
                                                                                            U S ‘O
                                                            ORDER FOR CONTINUANCE


          This matter having been opered to the Court by Paul J. l”ishman, United States Attorney

   fbi’ the District of New Jersey (Jonathan W. Rornankow, Assistant U.S. Attorney, appearing).

   and defendant SEAN RUII3LOWITZ (Aidan P. O’Connor, Esq., appearing). lbr an order granting

   a continuance of’ the proceedings in the above-captioned matter; and six continuances having

   previously been granted; and the defendant being aware that he has the right to have the matter

   presented to a Grand .Iury within thirty (30) days of the date of his arrest pursuant to Title 18

   USC, § 3161; arid the defndant through his attorney having waived such rights and consented

   to the continuance: and for good and sufficient cause shown.

          IT IS THE FlNI)ING OF ThIS COURT that this action should be continued for the

   following reasons:

                  I   .   Plea negotiations currently are in progress, and both the United States arid the

          defendant desire additional time to enter a plea in Court. which would thereby render trial

          of this matter unnecessary.

                 2.       De1ndaiii has consented to the aforememioneci continuance.

                 3.       The grant of a continuance will likely conserve judicial resources.

                 4.       Pursuant to Title 1 $ of the United States Code, Section 3 1 61 (h)(7)(A). the

          ends of justice served by granting the continuance outweigh the best interests of the

         public and the defendants in a speedy trial.
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           WHEREFORE. on this /dav ol’                                   2013;

           ORI)ERED that the proceedings in the above—captioned matter are continued trom July

    12, 2013 through September 10, 2013; and it is lur her

           ORDERED that the period between from JuR 1 2, 201 3 throuc1h September 1 0, 2013 shall

   he excludable in computing time under the Speedy Trial Act of 1974.




                                        HON. DOUGL S.’ PERT
                                        United States lagistr IC Judge




   lorm and emrv
   consented to:



   JON TI IAN ROt1ANKOW
   Assistant i.;. S. Attorney



      ///
  pfbAN P. O’CONNOR, Esq,
 Counsel for Defendant Sean Rublowitz
